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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS                JUL 11 2019
                                 SHERMAN DIVISION
                                                                     Clerk, U.S. District Court
ANTHONY DAVID TEAGUE,#1976916                                             T xas Eastern

vs.                                                    CIVIL ACTION NOG :16cv814

DIRECTOR,TDCJ-CID

                           NOTICE OF STATE COURT FILING

      Please take notice that Petitioner pro se, Anthony David Teague, has

filed a successive 11.07 state habeas writ application in the 219th

District Court of Collin County, Texas claiming two Grounds for relief

which he believes are exceptions to the successive Application bar due

to actual innocence. Petitioner notifies this Court so that it may

either stay action on this case or take whatever other action it sees as

appropriate under the law. His 11.07 was placed in the prison mail system

on Friday July 12th, 2019 with adequate postage pre-paid by him.



Respectfully submitted this 15th day of July, 2019,



TDCJ-Wallace Unit
1675 S. FM 3525
Colorado City, TX 79512
PETITIONER PRO SE
